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 1
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 6   ATTORNEY FOR Defendant,
     JOSEPH NOLAN
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                  ******
11   UNITED STATES OF AMERICA,                           Case No.: 1:10-CR-00131-AWI
12
                    Plaintiff,
13                                                       REQUEST TO ACCELERATE
             v.                                          SURRENDER DATE FROM NOVEMBER
14                                                       2, 2015, TO OCTOBER 12, 2015, TO USP
                                                         LOMPOC; ORDER THEREON
15   JOSEPH NOLAN,

16                  Defendant.
17   TO: THE HONORABLE JUDGE ANTHONY W. ISHII, AND TO THE UNITED
     STATES ATTORNEY AND THE UNITED STATES PROBATION OFFICE:
18

19           Defendant, JOSEPH NOLAN, by and through his attorney of record Anthony P.

20   Capozzi hereby requests that his surrender date of November 2, 2015, before 2:00 p.m. be

21   accelerated to October 12, 2015, before 2:00 p.m. to the U.S. Penitentiary at Lompoc, Satellite

22   Camp.

23           Said request is based upon the Declaration of Anthony P. Capozzi.

24                          DECLARATION OF ANTHONY P. CAPOZZI

25           I, ANTHONY P. CAPOZZI, DECLARE:

26           1.     On June 22, 2015, Joseph Nolan was sentenced to a total term of 18 months in

27   the custody of the United States Bureau of Prisons. (Exhibit A)

28           2.     On July 1, 2015, Mr. Nolan was designated to the U.S. Penitentiary at Lompoc
                                                         1
                                 REQUEST TO ACCELERATE SURRENDER TO USP LOMPOC
                                           CASE NO.: 1:10-CR-00131-AWI
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 1   Satellite Camp and ordered to surrender on November 2, 2015. (Exhibit B)

 2            3.     The reason for the extended delay in the surrender date to November 2, 2015,

 3   was for business reasons which no longer exist.

 4            4.     It is respectfully requested that the surrender date be accelerated to October 12,

 5   2015, by 2:00 p.m.

 6            I declare under penalty of perjury under the laws of the State of California that the

 7   foregoing is true and correct.

 8                                               Respectfully submitted,

 9   DATED:        September 10, 2015      By: /s/Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI
10                                             Attorney for Defendant JOSEPH NOLAN
11

12                                                 ORDER

13            Based upon the Request of the Defendant, Joseph Nolan, it is hereby ordered that the

14   Defendant surrender to the United States Bureau of Prisons Satellite Camp at USP Lompoc on

15   October 12, 2015 before 2:00 p.m.

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     IT IS SO ORDERED.
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     Dated:    September 10, 2015
18                                                 SENIOR DISTRICT JUDGE
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                               REQUEST TO ACCELERATE SURRENDER TO USP LOMPOC
                                         CASE NO.: 1:10-CR-00131-AWI
